Case 4:24-cv-00953-P              Document 50       Filed 01/03/25       Page 1 of 3      PageID 367



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                      Fort Worth Division

 OUTSOURCING FACILITIES
 ASSOCIATION, et al.,

                    Plaintiffs,

           v.
                                                       Civil Action No. 4:24-cv-00953-P
 UNITED STATES FOOD AND DRUG
 ADMINISTRATION, et al.,

                    Defendants.


                Plaintiffs’ Notice of Withdrawal of Opposition to Motion to Intervene
          Plaintiffs Outsourcing Facilities Association (“OFA”) and North American Custom

Laboratories, LLC, doing business as FarmaKeio Custom Compounding (“FarmaKeio”) hereby

withdraw their opposition to Eli Lilly and Company’s Motion to Intervene, Dkt. No. 34.

          1.      Plaintiffs’ opposition was premised on Lilly’s lack of any right to intervene under

Rule 24(a) and belief that permissive intervention was unwarranted and inappropriate based on the

prospect of prejudice to the timely and efficient adjudication of this action, particularly in its initial

stages.

          2.      Having reviewed Lilly’s motion papers, Plaintiffs withdraw their opposition on the

basis that Lilly most likely satisfies the standard for permissive intervention pursuant to Rule 24(b)

and in the interest of avoiding unnecessary proceedings over ancillary issues.

          3.      Plaintiffs respectfully suggest that, if the Court grants intervention, that it adjust,

and then enter, the briefing schedule jointly proposed by Plaintiffs and Defendants, Dkt. No. 38-1,

to clarify that the deadlines for Defendants’ filings also apply to an intervenor–defendant.
Case 4:24-cv-00953-P     Document 50   Filed 01/03/25        Page 2 of 3   PageID 368



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                                       2
Case 4:24-cv-00953-P           Document 50       Filed 01/03/25      Page 3 of 3     PageID 369



                                       Certificate of Service

          I hereby certify that this document, filed through the CM/ECF system on this day, will be

sent via electronic mail to the registered participants as identified on the Notice of Electronic

Filing.


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